          Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 1 of 12




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:21-cr-92
                                                    )
 COUY GRIFFIN,                                      ) Judge Trevor N. McFadden
                                                    )
         Defendant.                                 )
                                                    )

      DEFENDANT GRIFFIN’S MOTION TO COMPEL THE PRODUCTION OF
      EVIDENCE, OR, IN THE ALTERNATIVE, FOR A BILL OF PARTICULARS

        Defendant Couy Griffin, through his attorneys, files this motion to compel the production

of narrow categories of readily obtainable evidence that would advance the resolution of this

matter. Fed. R. Crim. P. 16(a)(1)(E). Asked to produce this evidence pursuant to Rule 16 and

Brady v. Maryland, 373 U.S. 83 (1963), the government immediately indicated that it could not

offer any timeline as to when such documents and records would be produced. By compelling

this limited, well-defined production on a reasonable timeline, the Court would reap significant

efficiencies in this case. In the alternative, the Court should order the government to file a

limited bill of particulars that would accomplish the same goal of defining the scope of the case

before trial.

I.      Section 1752 offenses and the documents and records at issue

        A.      Elements of a Section 1752 offense and the charges here

        As Griffin has noted elsewhere, the criminal statute under which he has been charged, 18

U.S.C. § 1752, is not a general federal trespass statute. Instead, it concerns the entry by a

defendant into an area restricted for the protection of Secret Service protectees. In relevant part,

Section 1752 criminalizes “knowingly enter[ing] or remain[ing] in any restricted building or

                                                                                                    1
         Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 2 of 12




grounds without lawful authority to do so.” 18 U.S.C. § 1752(a)(1). In turn, “restricted building

or grounds” is statutorily defined. “In . . . Section [1752]—

       (1) the term “restricted building or grounds” means any posted, cordoned off, or
       otherwise restricted area—

       (A) of the White House or its grounds, or the Vice President’s official residence or its
       grounds;
       (B) of a building or grounds where the President or other person protected by the Secret
       Service is or will be temporarily visiting; or
       (C) of a building or grounds so restricted in conjunction with an event designated as a
       special event of national significance;
18 U.S.C. § 1752(c)(1).
       The Court will notice several things about this definition. First, it will notice that the first

two subparts of Section 1752(c) concern individuals protected by the United States Secret

Service. In subpart (A) those individuals are the President (at the White House) and the Vice

President (at his or her official residence). In subpart (B) the individual protected by the Secret

Service is the President or “other person protected by the Secret Service.” 1 Congressmen and

Senators are not protected by the Secret Service. See United States Secret Service, Frequently

Asked Questions, available at: rb.gy/rb8ip6. Protection of Congressmen and Senators is the role

of a separate federal agency, the United States Capitol Police. The U.S. Capitol Police do not

provide for the protection of Secret Service protectees. See United States Capitol Police: Our

Mission, available at: https://www.uscp.gov/.

       The final Section 1752(c) subpart concerns “a building or grounds so restricted in

conjunction with an event designated as a special event of national significance.” As Griffin has


1
 The term “other person protected by the Secret Service” is also statutorily defined. It means
“any person whom the United States Secret Service is authorized to protect under section 3056
of this title or by Presidential Memorandum, when such person has not declined such
protection.” 18 U.S.C. § 1752(c)(2).
                                                                                                      2
          Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 3 of 12




noted elsewhere, “designation” in this subpart refers to a specific federal agency process. As a

Congressional Research Service note describes it, “Major federal government or public events

that are considered to be nationally significant may be designated by the President—or his

representative, the Secretary of the Department of Homeland Security (DHS)—as National

Special Security Events (NSSE). P.L. 106-544 designated the U.S. Secret Service as the lead

federal agency responsible for coordinating, planning, exercising and implementing security for

NSSEs.” National Special Security Events: Fact Sheet, Jan. 11, 2021, p. 1, Congressional

Research Service, available at: https://fas.org/sgp/crs/homesec/R43522.pdf. Accordingly, the

Court will notice that all three subparts of 18 U.S.C. § 1752(c)(1) concern decision-making

authority or action by the Secret Service.

        As CRS indicates, “The joint session of Congress that met at the U.S. Capitol on January

6, 2021, to open, certify, and count the November 2020 presidential election votes was not

designated an NSSE.” Id.

        In this case, the criminal complaint stated that, on January 6, “Restrictions around the

U.S. Capitol include[d] permanent and temporary security barriers and posts manned by U.S.

Capitol Police. On January 6, 2021, permanent and temporary security barriers were in place to

separate areas where lawful first amendment activity could be conducted from areas restricted

both to prevent any adverse impact on the legislative process and to safeguard and prevent and

[sic] property damage directed at the U.S. Capitol and West Front Inauguration Platform.

Compl., ECF No. 1-1, p. 1. The complaint added, “U.S. Capitol Police were present and

attempting to keep the crowd away from the Capitol building and the proceedings underway

inside.” Id., p. 2.




                                                                                                   3
           Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 4 of 12




       “[A]t approximately 2:20 p.m. members of the United States House of Representatives

and United States Senate, including the President of the Senate, Vice President Mike Pence, were

instructed to—and did—evacuate the chambers. Accordingly, the joint session of the United

States Congress was effectively suspended until shortly after 8:00 p.m. Vice President Pence

remained in the United States Capitol from the time he was evacuated from the Senate Chamber

until the sessions resumed.” Compl., p. 3.

       The complaint, upon which the later-filed Information is based, charged that Griffin

violated 18 U.S.C. § 1752(a)(1) by walking on the “west front of the U.S. Capitol steps, well

within the restricted area.” Compl., p. 4. The complaint displays a picture of Griffin standing on

the steps. Id. Though the complaint and Information do not define “restricted area,” they imply

that the “restricted area” is any area on the wrong side of a barricade, or law enforcement

presence, established by the U.S. Capitol Police. Compl., pp. 3-4; Information, ECF No. 14, p.

1. The charging instruments do not allege any “any posted, cordoned off, or otherwise restricted

area,” 18 U.S.C. § 1752(c), established by the Secret Service. They do not allege Griffin entered

or remained in” such an “area.” 18 U.S.C. § 1752(a)(1).

       B.      The discovery dispute

       On April 8, the parties met and conferred regarding discovery production, following the

Court’s order to do so on April 7. Griffin’s counsel indicated that resolution of this matter may

be significantly expedited by the production of a specific and narrow set of documents and

records.

       Specifically, Griffin’s counsel inquired of the government whether, under 18 U.S.C. §

1752(c)(1)(B), the “restricted building or grounds. . . of a building or grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting” is



                                                                                                    4
         Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 5 of 12




established by the Secret Service or some other federal agency. Griffin stated his statutory

understanding that the “restricted building or grounds” is so restricted by the federal agency that

is specifically referenced in § 1752(c)(1)(B), i.e., the Secret Service. The government indicated

that it did not agree. Rather, the government appeared to adopt the position that the “restricted

building or grounds” may be so restricted by any federal agency, including the U.S. Capitol

Police, though the government agreed that the U.S. Capitol Police are charged with security for

Congress, not Secret Service protectees.

       Given that disagreement, Griffin made a request, pursuant to Rule 16(a)(1)(E), and

Brady, for production of documents and records indicating whether, and to what extent, the

Secret Service directed the placement of the U.S. Capitol Police barricades the crossing of which

the government contends renders Griffin liable under § 1752(c)(1)(A). During the same

conversation—and without asking for time to research the question—the government responded

that it could already say that it would neither be able to produce such records, nor confirm their

nonexistence, on any set timeline.

       Second, Griffin inquired of the government whether it agreed that, on January 6, the joint

session of Congress was not “a building or grounds so restricted in conjunction with an event

designated as a special event of national significance,” 18 U.S.C. § 1752(c)(1)(C), because DHS

did not so designate the event. The government responded that it disagreed. Griffin inquired

whether the government agreed that the reference to “designat[ion]” means that a federal agency

must designate the “special event of national significance,” and if so, which agency that was in

the government’s theory of the case. The government appeared to respond that no federal

agency is required to “designate” the “special event of national significance” under 18 U.S.C. §

1752(c)(1)(C).



                                                                                                      5
            Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 6 of 12




       Given that disagreement, Griffin made a request, pursuant to Rule 16(a)(1)(E), and

Brady, for production of documents and records indicating whether any federal agency

“designated” the joint session of Congress on January 6 as a “special event of national

significance” under 18 U.S.C. § 1752(c)(1)(C). During the same conversation, and without

asking for time to research the question, the government responded that it could already say that

it would neither be able to produce such records, or confirm their nonexistence, on any set

timeline.

II.    Argument

       A.        Standard for a motion to compel records pursuant to Rule 16(a)(1)(E) and
                 Brady

       Rule 16 provides that “Upon a defendant’s request, the government must permit the

defendant to inspect and to copy or photograph books, papers, documents, data, photographs,

tangible objects, buildings or places, or copies or portions of any of these items, if the item is

within the government’s possession, custody, or control and:

            (i) the item is material to preparing the defense;

            (ii) the government intends to use the item in its case-in-chief at trial; or

            (iii) the item was obtained from or belongs to the defendant.

Fed. R. Crim. P. 16(a)(1)(E).

       As this Court has noted on many occasions, “the government cannot take a narrow

reading of the term ‘material’ in making its decisions on what to disclose under Rule 16. Nor

may it put itself in the shoes of defense counsel in attempting to predict the nature of what the

defense may be or what may be material to its preparation.” United States v. Safavian, 223

F.R.D. 12, 15 (D.D.C. 2005). Moreover, “burdensomeness and logistical difficulty . . . cannot

drive the decision whether items are ‘material’ to preparation of the defense. Nor can concerns

                                                                                                     6
         Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 7 of 12




about confidentiality and privacy rights of others trump the right of one charged with a crime to

present a fair defense.” United States v. O’Keefe, 2007 U.S. Dist. LEXIS 31053, *4 (D.D.C. Apr.

27, 2007); United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993) (materiality standard “is

not a heavy burden”; evidence material if there is indication that it may play an “important role

in uncovering admissible evidence, aiding witness preparation, corroborating testimony, or

assisting impeachment or rebuttal”).

       The material discoverable under Rule 16(a)(1)(E) is also discoverable on a timely basis.

As Judge Sentelle said for the D.C. Circuit in United States v. Mashall, 132 F.3d 63, 67 (D.C.

Cir. 1998), Rule 16(a)(1)(E) covers evidence that is “material to the preparation of the

defendant’s defense” (internal quotation marks omitted) (emphasis original). This is even more

true of material that tends to exculpate the defendant, i.e., Brady material. Under Local Rule 5.1,

“Beginning at the defendant’s arraignment and continuing throughout the criminal proceeding,

the government shall make good-faith efforts to disclose [Brady material] to the defense as soon

as reasonably possible after its existence is known, so as to enable the defense to make effective

use of the disclosed information in the preparation of its case.” LCrR 5.1 (emphasis added). The

Rule also states that “The Court may set specific timelines for disclosure of any information

encompassed by this rule.” LCrR 5.1(f). This Local Rule was prompted and statutorily

undergirded by the Due Process Protections Act, P.L. No. 116-182 (10/21/2020), which is

enforced in this case by Court Order. 3/11/2021 Minute Order.

       B.      Standard for a bill of particulars

       The court may direct the government to file a bill of particulars. Fed. R. Crim. P. 7(f).

“A bill of particulars can be used to ensure that the charges brought against a defendant are

stated with enough precision to allow the defendant to understand the charges, to prepare a



                                                                                                     7
         Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 8 of 12




defense, and perhaps also to be protected against retrial on the same charges.” United States v.

Concord Mgmt. & Consulting LLC, 385 F. Supp. 3d 69, 73 (D.D.C. 2019) (internal quotation

marks omitted). The defendant may move for a bill of particulars at any time with Court

permission. Fed. R. Crim. P. 7(f).

       A bill of particulars is appropriate for identifying the specific acts a defendant allegedly

took to commit the offense, where the indictment fails to allege them or does so vaguely. United

States v. Ramirez, 54 F Supp. 2d 25, 90 (D.D.C. 1999) (government required to provide

particulars as to all overt acts in which any defendant participated so that each defendant may

understand the government’s view of his alleged role in the conspiracy); United States v.

Bazezew, 783 F. Supp. 2d 160, 168 (D.D.C. 2011) (government ordered to identify specific overt

acts of defendants); United States v. Brown, 2007 U.S. Dist. LEXIS 49169, *45 (D.D.C. July 9,

2007) (ordering government to identify in bill of particulars “specific alleged actions and

specifically worded false statements on which the government shall rely in proving its case”);

United States v. Siddiqi, 2007 U.S. Dist. LEXIS 15410, *8 (S.D.N.Y. Feb. 21, 2007) (bill of

particulars must specify the dates and amounts of bribes defendant allegedly paid); United States

v. Palfrey, 499 F. Supp. 2d 34, 51-52 (D.D.C. 2007) (requiring government to identify proceeds

allegedly used in support of criminal enterprise so defendant does not “waste precious pre-trial

preparation guessing what data . . . will be relevant to [the] defense”); United States v. Sampson,

448 F. Supp. 2d 692, 696 (E.D. Va. 2006) (“[T]he indictment fails to state which specific

documents were fraudulent, and what was allegedly fraudulent about the documents at issue.

Defendant must also be put on notice as to the specific dates of the allegations, the documents,

and what the false statements were within the documents.”); United States v. Vasquez-Ruiz, 136

F. Supp. 2d 941, 943 (N.D. Ill. 2001) (ordering government in health care fraud case to identify



                                                                                                      8
         Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 9 of 12




in a bill of particulars the specific false entries in physician’s records and specific fraudulent bills

to insurers); United States v. Trie, 21 F. Supp. 2d 7, 21 (D.D.C. 1998) (“A defendant faced with

false statement charges should not have to waste precious pre-trial preparation time guessing

which statements he has to defend against . . . when the government knows precisely the

statements on which it intends to rely and can easily provide the information); United States v.

Espy, 989 F. Supp. 17, 34 (D.D.C. 1997) (granting in part a motion for a bill of particulars “as it

relates to the defendant’s request for the basis of the government’s allegations that the defendant

solicited and received things of value for and because of official acts performed and to be

performed by defendant”); United States v. Royal Caribbean Cruises, Ltd., 24 F. Supp. 2d 155

(D.P.R. 1997) (mandating that the government notify the defendants of the specific proceeding

that was obstructed); United States v. McGuinness, 764 F. Supp. 888, 892-94 (S.D.N.Y. 1991)

(holding that government must provide defendant bill of particulars listing approximate date and

amount of payments allegedly made in violation of Taft-Hartley Act); United States v.

Bortnovsky, 820 F.2d 572, 575 (2d Cir. 1987) (reversing conviction for failure to require a bill of

particulars setting forth specific staged burglaries and specific insurance claims alleged to be

false); United States v. Hubbard, 474 F. Supp. 64, 81 (D.D.C. 1979); United States v. Baker, 262

F. Supp. 657, 674 (D.D.C. 1966) (granting the tax defendant’s motion for a bill of particulars

“specify[ing] the statements and/or acts by which defendant is claimed to have aided, assisted in,

counseled, procured, or advised the preparation and presentation” of the false tax return).

        C.      The Court should compel production of two narrow categories of evidence

        Griffin has shown that there is a statutory dispute between the parties on the

interpretation of 18 U.S.C. § 1752(c)(1)(B) and § 1752(c)(1)(C). If Griffin’s interpretation is

correct, then the below categories of documents and records would go to exonerate him:



                                                                                                      9
        Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 10 of 12




       •       documents and records indicating whether, and to what extent, the Secret Service

               directed the placement of the U.S. Capitol Police barricades the crossing of which

               the government contends renders Griffin liable under § 1752(c)(1)(A); and

       •       documents and records indicating whether any federal agency “designated” the

               joint session of Congress on January 6 as a “special event of national

               significance” under 18 U.S.C. § 1752(c)(1)(C).

       These are exceptionally narrow, targeted requests. The government has given no

explanation for why they cannot be produced, or why their nonexistence cannot be confirmed, on

any describable timeline. Indeed, the government gave this no-timeline response before it had

even made any inquiries to see how quickly the materials could be obtained.

       The Court should order them promptly produced, or their nonexistence promptly

confirmed. Safavian, 223 F.R.D. at 15. At the very least, the Court should order the government

to provide some explanation as to why there would be no timeline for production whatsoever.

       D.      Alternatively, the Court should order the government to file a bill of
               particulars

       If the Court concludes that the government has some reasonable justification for

providing no production timeline for the above categories of evidence, it should order the

government to provide a bill of particulars identifying the following information:

       •       Whether Griffin has allegedly violated § 1752(a)(1) because he crossed a U.S.

               Capitol police barricade per se, or because that barricade was established to

               demarcate a restricted area set by the Secret Service;

       •       Whether Griffin has allegedly violated § 1752(a)(1) because the joint session of

               Congress on January 6 was “designated as a special event of national



                                                                                                  10
        Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 11 of 12




               significance,” § 1752(c)(1)(C), by some specified federal agency, or despite the

               fact that no agency so designated the joint session.

       This bill of particulars is appropriate because it is narrow, targeted and would greatly

streamline trial. A trial in which the government has to show Secret Service involvement in the

barricades at issue is quite different from one in which the government merely must show the

Capitol Police set up the barricade to protect Congress. The Court will reap great efficiencies by

requiring the government to explain what its Information really means. And to the extent the

government contends that logistical burdens prevent the production of relevant records, that

problem would not prevent the government from filing a bill of particulars.

Dated: April 8, 2021                                 Respectfully submitted,


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                                                                                                  11
        Case 1:21-cr-00092-TNM Document 22 Filed 04/08/21 Page 12 of 12




                                     Certificate of Service

       I hereby certify that on the 8th day of April, 2021, I filed the foregoing motion with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              JANANI IYENGAR
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              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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